                                                                                                                        Case 8:09-bk-04432-CPM                                 Doc 1             Filed 03/11/09                Page 1 of 47
                                                                                         B1 (Official Form 1) (1/08)
                                                                                                                                   United States Bankruptcy Court                                                                           Voluntary Petition
                                                                                                                                      Middle District of Florida
                                                                                          Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                           Sheppard, Mark E.                                                                                  Sheppard, Deborah J.
                                                                                          All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
                                                                                          (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
                                                                                           None                                                                                               None

                                                                                         Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                         (if more than one, state all): 7821                                               (if more than one, state all):    7644
                                                                                          Street Address of Debtor (No. and Street, City, and State)                                     Street Address of Joint Debtor (No. and Street, City, and State
                                                                                           6608 Lincoln Road                                                                                  6608 Lincoln Road
                                                                                           Bradenton, Fl                                                                                      Bradenton, Fl
                                                                                                                                                                ZIPCODE                                                                                  ZIPCODE
                                                                                                                                                                   34203                                                                                    34203
                                                                                          County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:
                                                                                           Manatee                                                                                            Manatee
                                                                                          Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                ZIPCODE                                                                                  ZIPCODE

                                                                                          Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                         ZIPCODE

                                                                                                        Type of Debtor                                         Nature of Business                                     Chapter of Bankruptcy Code Under Which
                                                                                                     (Form of Organization)                         (Check one box)                                                        the Petition is Filed (Check one box)
                                                                                                        (Check one box)                                 Health Care Business                                     Chapter 7
                                                                                                                                                        Single Asset Real Estate as defined in
                                                                                                                                                                                                                                           Chapter 15 Petition for
                                                                                             Individual (includes Joint Debtors)
                                                                                                                                                        11 U.S.C. § 101 (51B)                                    Chapter 9                 Recognition of a Foreign
                                                                                             See Exhibit D on page 2 of this form.
                                                                                                                                                        Railroad                                                                           Main Proceeding
                                                                                             Corporation (includes LLC and LLP)                                                                                  Chapter 11
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                                                                                             Partnership                                                Stockbroker                                                                        Chapter 15 Petition for
                                                                                                                                                                                                                  Chapter 12
                                                                                             Other (If debtor is not one of the above entities,         Commodity Broker                                                                   Recognition of a Foreign
                                                                                                                                                                                                                 Chapter 13                Nonmain Proceeding
                                                                                             check this box and state type of entity below.)            Clearing Bank
                                                                                                                                                        Other                                                                     Nature of Debts
                                                                                                                                                                                                                                   (Check one box)
                                                                                                                                                                                                                 Debts are primarily consumer
                                                                                                                                                                   Tax-Exempt Entity                             debts, defined in 11 U.S.C.             Debts are primarily
                                                                                                                                                                 (Check box, if applicable)                      §101(8) as "incurred by an              business debts
                                                                                                                                                           Debtor is a tax-exempt organization                   individual primarily for a
                                                                                                                                                           under Title 26 of the United States                   personal, family, or household
                                                                                                                                                           Code (the Internal Revenue Code)                      purpose."
                                                                                                                     Filing Fee (Check one box)                                                   Check one box:       Chapter 11 Debtors
                                                                                                 Full Filing Fee attached                                                                            Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                     Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                 Filing Fee to be paid in installments (Applicable to individuals only) Must attach               Check if:
                                                                                                 signed application for the court's consideration certifying that the debtor is unable               Debtor’s aggregate noncontingent liquidated debts (excluding debts
                                                                                                 to pay fee except in installments. Rule 1006(b). See Official Form No. 3A.                          owed to insiders or affiliates) are less than $2,190,000
                                                                                                                                                                                                  Check all applicable boxes
                                                                                                 Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        A plan is being filed with this petition.
                                                                                                 attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                     Acceptances of the plan were solicited prepetition from one or
                                                                                                                                                                                                     more classes, in accordance with 11 U.S.C. § 1126(b).
                                                                                           Statistical/Administrative Information                                                                                                                        THIS SPACE IS FOR
                                                                                                                                                                                                                                                         COURT USE ONLY
                                                                                             Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                             Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                             distribution to unsecured creditors.
                                                                                         Estimated Number of Creditors

                                                                                          1-49           50-99          100-199           200-999          1000-            5,001-            10,001-        25,001-          50,001-       Over
                                                                                                                                                           5000             10,000            25,000         50,000           100,000       100,000
                                                                                         Estimated Assets

                                                                                         $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001       $100,000,001     $500,000,001    More than
                                                                                         $50,000        $100,000       $500,000          to $1           to $10           to $50         to $100           to $500          to $1 billion   $1 billion
                                                                                                                                         million        million          million         million           million
                                                                                         Estimated Liabilities

                                                                                         $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001       $100,000,001     $500,000,001    More than
                                                                                         $50,000        $100,000       $500,000          to $1           to $10           to $50         to $100           to $500          to $1 billion   $1 billion
                                                                                                                                         million        million          million         million           million
                                                                                                               Case
                                                                                         B1 (Official Form 1) (1/08)             8:09-bk-04432-CPM                       Doc 1         Filed 03/11/09                   Page 2 of 47                                      Page 2
                                                                                         Voluntary Petition                                                                           Name of Debtor(s):
                                                                                          (This page must be completed and filed in every case)                                      Mark E. Sheppard & Deborah J. Sheppard
                                                                                                               All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                          Location                                                                            Case Number:                                           Date Filed:
                                                                                          Where Filed:          NONE

                                                                                          Location                                                                             Case Number:                                          Date Filed:
                                                                                          Where Filed:
                                                                                                          N.A.
                                                                                            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                          Name of Debtor: NONE                                     Case Number:                           Date Filed:


                                                                                          District:                                                                            Relationship:                                          Judge:


                                                                                                                         Exhibit A                                                                                         Exhibit B
                                                                                                                                                                                                           (To be completed if debtor is an individual
                                                                                         (To be completed if debtor is required to file periodic reports (e.g., forms                                      whose debts are primarily consumer debts)
                                                                                         10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                         Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
                                                                                                                                                                                 the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                                         relief under chapter 11)                                                                States Code, and have explained the relief available under each such chapter.
                                                                                                                                                                                 I further certify that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).




                                                                                                  Exhibit A is attached and made a part of this petition.                        X       /s/ D. Turner Matthews                                    March 5, 2009
                                                                                                                                                                                       Signature of Attorney for Debtor(s)                             Date


                                                                                                                                                                      Exhibit C
                                                                                         Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                  Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                  No
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                                                                                                                                                                        Exhibit D
                                                                                           (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                      Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                          If this is a joint petition:
                                                                                                      Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                     Information Regarding the Debtor - Venue
                                                                                                                                                                 (Check any applicable box)
                                                                                                                  Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                                                                                                                  immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                  There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                                                                                                                  Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District,
                                                                                                                  or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state
                                                                                                                  court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                            Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                   (Check all applicable boxes)
                                                                                                                  Landlord has a judgment for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                  (Name of landlord that obtained judgment)


                                                                                                                                                                   (Address of landlord)
                                                                                                                  Debtor claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                  entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                  Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                                                                                                                  period after the filing of the petition.
                                                                                                                  Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
                                                                                                                     Case 8:09-bk-04432-CPM                             Doc 1           Filed 03/11/09                Page 3 of 47
                                                                                         B1 (Official Form 1) (1/08)                                                                                                                                                     Page 3
                                                                                         Voluntary Petition                                                                     Name of Debtor(s):
                                                                                         (This page must be completed and filed in every case)                                 Mark E. Sheppard & Deborah J. Sheppard
                                                                                                                                                                        Signatures
                                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                                 Signature of a Foreign Representative
                                                                                           I declare under penalty of perjury that the information provided in this petition
                                                                                           is true and correct.
                                                                                           [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                           has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                           chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                           available under each such chapter, and choose to proceed under chapter 7.
                                                                                           [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                           petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                            I request relief in accordance with chapter 15 of title 11, United States
                                                                                           I request relief in accordance with the chapter of title 11, United States                       Code. Certified copies of the documents required by § 1515 of title 11 are
                                                                                           Code, specified in this petition.                                                                attached.

                                                                                                                                                                                            Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                            title 11 specified in this petition.  A certified copy of the order granting
                                                                                                                                                                                            recognition of the foreign main proceeding is attached.
                                                                                           X /s/ Mark E. Sheppard
                                                                                               Signature of Debtor                                                                  X
                                                                                                                                                                                        (Signature of Foreign Representative)
                                                                                           X /s/ Deborah J. Sheppard
                                                                                              Signature of Joint Debtor

                                                                                                                                                                                        (Printed Name of Foreign Representative)
                                                                                               Telephone Number (If not represented by attorney)
                                                                                                March 5, 2009
                                                                                                Date                                                                                     (Date)

                                                                                                                Signature of Attorney*
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                                                                                          X      /s/ D. Turner Matthews                                                                    Signature of Non-Attorney Petition Preparer
                                                                                               Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
                                                                                                                                                                                 as defined in 11 U.S.C. § 110, 2) I prepared this document for compensation,
                                                                                              D. TURNER MATTHEWS 0105087                                                         and have provided the debtor with a copy of this document and the notices
                                                                                               Printed Name of Attorney for Debtor(s)                                            and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and,
                                                                                                                                                                                 3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110
                                                                                                                                                                                 setting a maximum fee for services chargeable by bankruptcy petition
                                                                                               Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                              1720 Manatee Avenue West                                                           document for filing for a debtor or accepting any fee from the debtor, as
                                                                                               Address                                                                           required in that section. Official Form 19 is attached.
                                                                                              Bradenton, FL 34205
                                                                                                                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                              941-794-8722 lindadtm@turnermatthews.com
                                                                                              Telephone Number                                  e-mail
                                                                                                                                                                                 Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                              March 5, 2009                                                                      state the Social Security number of the officer, principal, responsible person or
                                                                                             Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                          *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                          certification that the attorney has no knowledge after an inquiry that the
                                                                                          information in the schedules is incorrect.                                              Address

                                                                                                 Signature of Debtor (Corporation/Partnership)
                                                                                            I declare under penalty of perjury that the information provided in this petition
                                                                                            is true and correct, and that I have been authorized to file this petition on       X
                                                                                            behalf of the debtor.

                                                                                            The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                            United States Code, specified in this petition.
                                                                                                                                                                                    Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                    person, or partner whose Social Security number is provided above.
                                                                                          X
                                                                                              Signature of Authorized Individual                                                    Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                    assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                    not an individual:
                                                                                               Printed Name of Authorized Individual
                                                                                                                                                                                    If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                    conforming to the appropriate official form for each person.
                                                                                               Title of Authorized Individual
                                                                                                                                                                                    A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              Date                                                                                  imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                              Case 8:09-bk-04432-CPM         Doc 1   Filed 03/11/09      Page 4 of 47

                                                                                         B1 D (Official Form 1, Exhibit D ) (12/08)


                                                                                                                             UNITED STATES BANKRUPTCY COURT
                                                                                                                                      Middle District of Florida




                                                                                               Mark E. Sheppard & Deborah J. Sheppard
                                                                                         In re______________________________________                               Case No._____________
                                                                                                        Debtor(s)                                                        (if known)


                                                                                                    EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                    CREDIT COUNSELING REQUIREMENT

                                                                                                 Warning: You must be able to check truthfully one of the five statements regarding
                                                                                         credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                         case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                         filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                         you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                         required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                         collection activities.

                                                                                                Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
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                                                                                         must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                         any documents as directed.

                                                                                                1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                         from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                         administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                         performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                         services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                         developed through the agency.

                                                                                                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                         from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                         administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                         performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                         the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                         services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                         no later than 15 days after your bankruptcy case is filed.
                                                                                                              Case 8:09-bk-04432-CPM             Doc 1   Filed 03/11/09       Page 5 of 47
                                                                                         B1 D (Official Form 1, Exh. D) (12/08) – Cont.                                                      Page 2


                                                                                                 3. I certify that I requested credit counseling services from an approved agency but
                                                                                         was unable to obtain the services during the five days from the time I made my request, and the
                                                                                         following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                         so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                If your certification is satisfactory to the court, you must still obtain the credit
                                                                                         counseling briefing within the first 30 days after you file your bankruptcy case and
                                                                                         promptly file a certificate from the agency that provided the counseling, together with a
                                                                                         copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                         requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                         can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                         be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                         without first receiving a credit counseling briefing.

                                                                                                4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                         applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                        Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                decisions with respect to financial responsibilities.);
                                                                                                        Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
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                                                                                                extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                briefing in person, by telephone, or through the Internet.);
                                                                                                        Active military duty in a military combat zone.

                                                                                                5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                         counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                I certify under penalty of perjury that the information provided above is true and
                                                                                         correct.



                                                                                                                      Signature of Debtor:             /s/ Mark E. Sheppard
                                                                                                                                                      MARK E. SHEPPARD

                                                                                                                                                   March 5, 2009
                                                                                                                                          Date: _________________
                                                                                                              Case 8:09-bk-04432-CPM         Doc 1   Filed 03/11/09      Page 6 of 47

                                                                                         B1 D (Official Form 1, Exhibit D ) (12/08)


                                                                                                                             UNITED STATES BANKRUPTCY COURT
                                                                                                                                      Middle District of Florida




                                                                                               Mark E. Sheppard & Deborah J. Sheppard
                                                                                         In re______________________________________                               Case No._____________
                                                                                                        Debtor(s)                                                        (if known)


                                                                                                    EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                    CREDIT COUNSELING REQUIREMENT

                                                                                                 Warning: You must be able to check truthfully one of the five statements regarding
                                                                                         credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                         case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                         filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                         you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                         required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                         collection activities.

                                                                                                Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
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                                                                                         must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                         any documents as directed.

                                                                                                1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                         from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                         administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                         performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                         services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                         developed through the agency.

                                                                                                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                         from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                         administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                         performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                         the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                         services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                         no later than 15 days after your bankruptcy case is filed.
                                                                                                              Case 8:09-bk-04432-CPM             Doc 1    Filed 03/11/09   Page 7 of 47
                                                                                         B1 D (Official Form 1, Exh. D) (12/08) – Cont.                                                   Page 2


                                                                                                 3. I certify that I requested credit counseling services from an approved agency but
                                                                                         was unable to obtain the services during the five days from the time I made my request, and the
                                                                                         following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                         so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                If your certification is satisfactory to the court, you must still obtain the credit
                                                                                         counseling briefing within the first 30 days after you file your bankruptcy case and
                                                                                         promptly file a certificate from the agency that provided the counseling, together with a
                                                                                         copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                         requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                         can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                         be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                         without first receiving a credit counseling briefing.

                                                                                                4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                         applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                        Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                decisions with respect to financial responsibilities.);
                                                                                                        Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
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                                                                                                extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                briefing in person, by telephone, or through the Internet.);
                                                                                                        Active military duty in a military combat zone.

                                                                                                5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                         counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                I certify under penalty of perjury that the information provided above is true and
                                                                                         correct.



                                                                                                                   Signature of Joint Debtor:          /s/ Deborah J. Sheppard
                                                                                                                                                      DEBORAH J. SHEPPARD

                                                                                                                                                   March 5, 2009
                                                                                                                                          Date: _________________
                                                                                                                      Case 8:09-bk-04432-CPM               Doc 1        Filed 03/11/09          Page 8 of 47

                                                                                               B6 Summary (Official Form 6 - Summary) (12/07)




                                                                                                                                    United States Bankruptcy Court
                                                                                                                                                Middle District of Florida
                                                                                                           Mark E. Sheppard & Deborah J. Sheppard
                                                                                              In re                                                                                        Case No.
                                                                                                                                               Debtor
                                                                                                                                                                                           Chapter        13

                                                                                                                                              SUMMARY OF SCHEDULES
                                                                                         Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                         I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                         claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                         Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                    AMOUNTS SCHEDULED
                                                                                                                                        ATTACHED
                                                                                           NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER
                                                                                           A – Real Property
                                                                                                                                        YES                     1            $     72,000.00

                                                                                           B – Personal Property
                                                                                                                                        YES                     3            $     41,645.00
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                                                                                           C – Property Claimed
                                                                                               as exempt                                YES                     1

                                                                                           D – Creditors Holding
                                                                                              Secured Claims                            YES                     1                                  $     148,358.00

                                                                                           E - Creditors Holding Unsecured
                                                                                               Priority Claims                          YES                     3                                  $           0.00
                                                                                              (Total of Claims on Schedule E)
                                                                                           F - Creditors Holding Unsecured
                                                                                               Nonpriority Claims                       YES                     2                                  $      78,356.00

                                                                                           G - Executory Contracts and
                                                                                               Unexpired Leases                         YES                     1

                                                                                           H - Codebtors
                                                                                                                                        YES                     1

                                                                                           I - Current Income of
                                                                                               Individual Debtor(s)                     YES                     1                                                        $     5,110.00

                                                                                           J - Current Expenditures of Individual
                                                                                               Debtors(s)                               YES                     1                                                        $     3,450.00


                                                                                                                                TOTAL                           15           $    113,645.00       $     226,714.00
                                                                                           Official Form 6 Case    8:09-bk-04432-CPM
                                                                                                           - Statistical Summary (12/07)                      Doc 1       Filed 03/11/09     Page 9 of 47
                                                                                                                               United States Bankruptcy Court
                                                                                                                                                  Middle District of Florida

                                                                                                      In re       Mark E. Sheppard & Deborah J. Sheppard                                Case No.
                                                                                                                                                Debtor
                                                                                                                                                                                        Chapter      13

                                                                                         STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                              If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                         §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                               Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                         information here.

                                                                                         This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                         Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                            Type of Liability                                                         Amount

                                                                                            Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                                 0.00
                                                                                            Taxes and Certain Other Debts Owed to Governmental Units (from            $
                                                                                            Schedule E)
                                                                                                                                                                                 0.00
                                                                                            Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
                                                                                            Schedule E) (whether disputed or undisputed)                                         0.00
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                                                                                            Student Loan Obligations (from Schedule F)                                $          0.00
                                                                                            Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                            Obligations Not Reported on Schedule E                                               0.00
                                                                                            Obligations to Pension or Profit-Sharing, and Other Similar Obligations   $
                                                                                            (from Schedule F)                                                                    0.00

                                                                                                                                                             TOTAL    $          0.00


                                                                                           State the Following:
                                                                                            Average Income (from Schedule I, Line 16)                                 $      5,110.00
                                                                                            Average Expenses (from Schedule J, Line 18)                               $      3,450.00
                                                                                            Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                            22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                             6,227.00



                                                                                           State the Following:
                                                                                            1. Total from Schedule D, “UNSECURED PORTION, IF                                            $    70,000.00
                                                                                            ANY” column

                                                                                            2. Total from Schedule E, “AMOUNT ENTITLED TO
                                                                                            PRIORITY” column.
                                                                                                                                                                      $          0.00

                                                                                            3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                           $
                                                                                            PRIORITY, IF ANY” column                                                                               0.00

                                                                                            4. Total from Schedule F                                                                    $    78,356.00
                                                                                            5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                $   148,356.00
                                                                                                                    Case 8:09-bk-04432-CPM
                                                                                         B6A (Official Form 6A) (12/07)
                                                                                                                                                                Doc 1        Filed 03/11/09                              Page 10 of 47


                                                                                         In re    Mark E. Sheppard & Deborah J. Sheppard                                                Case No.
                                                                                                                    Debtor                                                                                                     (If known)

                                                                                                                                         SCHEDULE A - REAL PROPERTY
                                                                                            Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                         tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                         the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                         “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                         “Description and Location of Property.”

                                                                                           Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                         Unexpired Leases.

                                                                                             If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                         claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                            If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                         Property Claimed as Exempt.




                                                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                        CURRENT VALUE
                                                                                                                                                                                                                          OF DEBTOR’S
                                                                                                       DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN       AMOUNT OF
                                                                                                              OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT      SECURED
                                                                                                                                                                                                                        DEDUCTING ANY         CLAIM
                                                                                                                                                                                                                        SECURED CLAIM
                                                                                                                                                                                                                         OR EXEMPTION



                                                                                          Residence located at 6608 Lincoln Road,                       Fee Simple                                 J                          72,000.00     Exceeds Value
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                                                                                          Bradenton, FL




                                                                                                                                                                                       Total
                                                                                                                                                                                                                              72,000.00

                                                                                                                                                                                       (Report also on Summary of Schedules.)
                                                                                         B6B (Official Form 6B) (12/07)
                                                                                                                            Case 8:09-bk-04432-CPM                   Doc 1    Filed 03/11/09          Page 11 of 47


                                                                                         In re      Mark E. Sheppard & Deborah J. Sheppard                                            Case No.
                                                                                                                           Debtor                                                                             (If known)

                                                                                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                              Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                         place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                         identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                         community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                         individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                             Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                         Unexpired Leases.

                                                                                               If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                         If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                         "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                           CURRENT VALUE OF




                                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                                           DEBTOR’S INTEREST
                                                                                                                                                N                                                                                             IN PROPERTY,
                                                                                                      TYPE OF PROPERTY                          O                    DESCRIPTION AND LOCATION                                                   WITHOUT
                                                                                                                                                N                          OF PROPERTY                                                      DEDUCTING ANY
                                                                                                                                                E                                                                                           SECURED CLAIM
                                                                                                                                                                                                                                             OR EXEMPTION


                                                                                           1.    Cash on hand.                                      Cash on Hand                                                        J                            15.00
                                                                                           2. Checking, savings or other financial                  Checking Account                                                    J                           800.00
                                                                                           accounts, certificates of deposit, or shares in
                                                                                           banks, savings and loan, thrift, building and            Whitney National Bank
                                                                                           loan, and homestead associations, or credit
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                                                                                           unions, brokerage houses, or cooperatives.
                                                                                                                                                    Checking Account                                                    H                           100.00
                                                                                                                                                    Whitney National Bank

                                                                                                                                                    Savings Account                                                     J                            30.00
                                                                                                                                                    Whitney National Bank

                                                                                           3. Security deposits with public utilities,          X
                                                                                           telephone companies, landlords, and others.

                                                                                           4. Household goods and furnishings, including            TV, Computer, Couch, Chairs, Dining Set, Beds,                      J                         1,000.00
                                                                                           audio, video, and computer equipment.
                                                                                                                                                    Appliances, Misc. Lamps & Tables
                                                                                           5. Books. Pictures and other art objects,            X
                                                                                           antiques, stamp, coin, record, tape, compact disc,
                                                                                           and other collections or collectibles.

                                                                                           6.    Wearing apparel.                                   Misc. Clothing                                                      J                            50.00




                                                                                           7.    Furs and jewelry.                                  Wedding Ring                                                        J                           400.00
                                                                                           8. Firearms and sports, photographic, and            X
                                                                                           other hobby equipment.
                                                                                                                  Case-- 8:09-bk-04432-CPM
                                                                                         B6B (Official Form 6B) (12/07)  Cont.                                      Doc 1     Filed 03/11/09       Page 12 of 47


                                                                                         In re     Mark E. Sheppard & Deborah J. Sheppard                                              Case No.
                                                                                                                           Debtor                                                                          (If known)

                                                                                                                                              SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                             (Continuation Sheet)




                                                                                                                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                       CURRENT VALUE OF




                                                                                                                                                                                                                  OR COMMUNITY
                                                                                                                                                                                                                                       DEBTOR’S INTEREST
                                                                                                                                                  N                                                                                       IN PROPERTY,
                                                                                                     TYPE OF PROPERTY                             O                DESCRIPTION AND LOCATION                                                 WITHOUT
                                                                                                                                                  N                      OF PROPERTY                                                    DEDUCTING ANY
                                                                                                                                                  E                                                                                     SECURED CLAIM
                                                                                                                                                                                                                                         OR EXEMPTION


                                                                                           9. Interests in insurance policies. Name               X
                                                                                           insurance company of each policy and itemize
                                                                                           surrender or refund value of each.

                                                                                           10. Annuities. Itemize and name each issuer.           X
                                                                                           11. Interests in an education IRA as defined in        X
                                                                                           26 U.S.C. § 530(b)(1) or under a qualified State
                                                                                           tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                           Give particulars. (File separately the record(s) of
                                                                                           any such interest(s). 11 U.S.C. § 521(c).)

                                                                                           12. Interests in IRA, ERISA, Keogh, or other               401K Retirement AAA                                           J                        30,000.00
                                                                                           pension or profit sharing plans. Give particulars.

                                                                                           13. Stock and interests in incorporated and                100% Sheppard Sound & Security Incorporated - owns            H                           500.00
                                                                                           unincorporated businesses. Itemize.
                                                                                                                                                      1990 Ford E-250 - service company - owes $3,500
                                                                                           14. Interests in partnerships or joint ventures.       X
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                                                                                           Itemize.

                                                                                           15. Government and corporate bonds and other           X
                                                                                           negotiable and non-negotiable instruments.

                                                                                           16. Accounts receivable.                               X
                                                                                           17. Alimony, maintenance, support, and                 X
                                                                                           property settlement to which the debtor is or
                                                                                           may be entitled. Give particulars.

                                                                                           18. Other liquidated debts owing debtor                X
                                                                                           including tax refunds. Give particulars.

                                                                                           19. Equitable or future interests, life estates, and   X
                                                                                           rights or powers exercisable for the benefit of
                                                                                           the debtor other than those listed in Schedule A -
                                                                                           Real Property.

                                                                                           20. Contingent and noncontingent interests in          X
                                                                                           estate or a decedent, death benefit plan, life
                                                                                           insurance policy, or trust.

                                                                                           21. Other contingent and unliquidated claims of        X
                                                                                           every nature, including tax refunds,
                                                                                           counterclaims of the debtor, and rights of setoff
                                                                                           claims. Give estimated value of each.

                                                                                           22. Patents, copyrights, and other intellectual        X
                                                                                           property. Give particulars.

                                                                                           23. Licenses, franchises, and other general            X
                                                                                           intangibles. Give particulars.
                                                                                                                Case--8:09-bk-04432-CPM
                                                                                         B6B (Official Form 6B) (12/07) Cont.                                     Doc 1      Filed 03/11/09             Page 13 of 47


                                                                                         In re     Mark E. Sheppard & Deborah J. Sheppard                                              Case No.
                                                                                                                           Debtor                                                                               (If known)

                                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                          (Continuation Sheet)




                                                                                                                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                 CURRENT VALUE OF




                                                                                                                                                                                                                            OR COMMUNITY
                                                                                                                                                                                                                                                 DEBTOR’S INTEREST
                                                                                                                                              N                                                                                                     IN PROPERTY,
                                                                                                     TYPE OF PROPERTY                         O                  DESCRIPTION AND LOCATION                                                             WITHOUT
                                                                                                                                              N                        OF PROPERTY                                                                DEDUCTING ANY
                                                                                                                                              E                                                                                                   SECURED CLAIM
                                                                                                                                                                                                                                                   OR EXEMPTION


                                                                                           24. Customer lists or other compilations           X
                                                                                           containing personally identifiable information
                                                                                           (as defined in 11 U.S.C. §101(41A)) provided to
                                                                                           the debtor by individuals in connection with
                                                                                           obtaining a product or service from the debtor
                                                                                           primarily for personal, family, or household
                                                                                           purposes.

                                                                                           25. Automobiles, trucks, trailers, and other           2001 Chevy LS Silverado                                                     J                         8,000.00
                                                                                           vehicles and accessories.

                                                                                           26. Boats, motors, and accessories.                    1993 home built air boat (does not run)                                     J                           750.00
                                                                                           27. Aircraft and accessories.                      X
                                                                                           28. Office equipment, furnishings, and supplies.   X
                                                                                           29. Machinery, fixtures, equipment, and            X
                                                                                           supplies used in business.
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                                                                                           30. Inventory.                                     X
                                                                                           31. Animals.                                       X
                                                                                           32. Crops - growing or harvested. Give             X
                                                                                           particulars.

                                                                                           33. Farming equipment and implements.              X
                                                                                           34. Farm supplies, chemicals, and feed.            X
                                                                                           35. Other personal property of any kind not        X
                                                                                           already listed. Itemize.




                                                                                                                                                                     0                                                                           $
                                                                                                                                                                              continuation sheets attached        Total                                41,645.00
                                                                                                                                                                              (Include amounts from any continuation
                                                                                                                                                                                sheets attached. Report total also on
                                                                                                                                                                                      Summary of Schedules.)
                                                                                                                    Case 8:09-bk-04432-CPM                   Doc 1    Filed 03/11/09         Page 14 of 47
                                                                                           B6C (Official Form 6C) (12/07)


                                                                                         In re    Mark E. Sheppard & Deborah J. Sheppard                                       Case No.
                                                                                                                   Debtor                                                                            (If known)

                                                                                                                  SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                           Debtor claims the exemptions to which debtor is entitled under:
                                                                                           (Check one box)

                                                                                                 11 U.S.C. § 522(b)(2)                                         Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                               $136,875.
                                                                                                 11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                CURRENT
                                                                                                                                                         SPECIFY LAW                    VALUE OF           VALUE OF PROPERTY
                                                                                                     DESCRIPTION OF PROPERTY                           PROVIDING EACH                   CLAIMED            WITHOUT DEDUCTING
                                                                                                                                                          EXEMPTION                    EXEMPTION               EXEMPTION


                                                                                            Residence located at 6608 Lincoln Road,         Fl Const                                         72,000.00                 72,000.00
                                                                                            Bradenton, FL

                                                                                            2001 Chevy LS Silverado                         FS §222                                           1,000.00                     8,000.00
                                                                                                                                            FL CONST/NO EQUITY                                6,300.00

                                                                                            Checking Account                                Fl Const                                            800.00                      800.00

                                                                                            TV, Computer, Couch, Chairs, Dining Set,        Fl Const                                          1,000.00                     1,000.00
                                                                                            Beds, Appliances, Misc. Lamps & Tables
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                                                                                            Wedding Ring                                    Fl Const                                            200.00                      400.00

                                                                                            401K Retirement AAA                             FS §222                                          30,000.00                 30,000.00
                                                                                                                 Case 8:09-bk-04432-CPM                                            Doc 1     Filed 03/11/09                          Page 15 of 47

                                                                                         B6D (Official Form 6D) (12/07)

                                                                                                  Mark E. Sheppard & Deborah J. Sheppard
                                                                                         In re _______________________________________________,                                                               Case No. _________________________________
                                                                                                                       Debtor                                                                                                                                (If known)

                                                                                                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                   State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                         by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                         useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                         such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                    List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                         address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                         §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                         include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                         husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                         "Husband, Wife, Joint, or Community."
                                                                                                   If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                         labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                         one of these three columns.)
                                                                                                   Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                         labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                         Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                         the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                                                                                                        AMOUNT
                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                            UNLIQUIDATED
                                                                                                                                                                                                               CONTINGENT
                                                                                                                                                                             DATE CLAIM WAS INCURRED,                                                      OF
                                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                           DISPUTED
                                                                                                                                                     ORCOMMUNITY




                                                                                                    CREDITOR’S NAME,
                                                                                                     MAILING ADDRESS                                                            NATURE OF LIEN, AND                                                      CLAIM            UNSECURED
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                                                                                                   INCLUDING ZIP CODE,                                                           DESCRIPTION AND                                                        WITHOUT            PORTION,
                                                                                                  AND ACCOUNT NUMBER                                                            VALUE OF PROPERTY                                                      DEDUCTING            IF ANY
                                                                                                    (See Instructions Above.)                                                     SUBJECT TO LIEN                                                       VALUE OF
                                                                                                                                                                                                                                                      COLLATERAL


                                                                                         ACCOUNT NO. 0766596-1                                                            Lien: Purchase Money Security
                                                                                                                                                                          Interest
                                                                                         Capital One
                                                                                                                                                                          Security: 2001 Chevy LS Silverado
                                                                                         PO Box 260848                                             J                                                                                                      6,358.00              0.00
                                                                                         Plano, TX 75026-0848

                                                                                                                                                                          VALUE $                 8,000.00
                                                                                         ACCOUNT NO. 000833143                                                            Lien: First Mortgage                                                                             70,000.00
                                                                                                                                                                          Security: Residence located at
                                                                                         Citi Mortgage
                                                                                                                                                                          6608 Lincoln Road, Bradenton, FL
                                                                                         PO Box 689196                                             J                                                                                                    142,000.00
                                                                                         Des Moines, IA 50368-9196

                                                                                                                                                                          VALUE $                72,000.00
                                                                                         ACCOUNT NO.




                                                                                                                                                                           VALUE $

                                                                                            0
                                                                                          _______ continuation sheets attached                                                                               Subtotal     $ 148,358.00                               $     70,000.00
                                                                                                                                                                                                     (Total of this page)
                                                                                                                                                                                                                 Total    $ 148,358.00                               $     70,000.00
                                                                                                                                                                                                  (Use only on last page)
                                                                                                                                                                                                                                            (Report also on       (If applicable, report
                                                                                                                                                                                                                                            Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                  Summary of Certain
                                                                                                                                                                                                                                                                  Liabilities and Related
                                                                                                                                                                                                                                                                  Data.)
                                                                                                                  Case 8:09-bk-04432-CPM                      Doc 1         Filed 03/11/09            Page 16 of 47
                                                                                         B6E (Official Form 6E) (12/07)


                                                                                                    Mark E. Sheppard & Deborah J. Sheppard
                                                                                            In re________________________________________________________________,                         Case No.______________________________
                                                                                                                    Debtor                                                                               (if known)

                                                                                                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                  A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                           unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                           address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                           property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                           the type of priority.

                                                                                                  The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                           the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                           "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                           entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                           both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                           Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                           in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                           more than one of these three columns.)

                                                                                                 Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                           Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                     Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                           amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                           primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
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                                                                                           amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                           with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                           Data.



                                                                                               Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                          TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                Domestic Support Obligations

                                                                                                Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                         or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                         11 U.S.C. § 507(a)(1).


                                                                                                Extensions of credit in an involuntary case

                                                                                               Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                         appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                Wages, salaries, and commissions

                                                                                                  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                          independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                Contributions to employee benefit plans

                                                                                                     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                             cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                                                                  Case 8:09-bk-04432-CPM                     Doc 1        Filed 03/11/09           Page 17 of 47

                                                                                         B6E (Official Form 6E) (12/07) - Cont.


                                                                                                      Mark E. Sheppard & Deborah J. Sheppard
                                                                                               In re________________________________________________________________,                      Case No.______________________________
                                                                                                                       Debtor                                                                            (if known)




                                                                                                Certain farmers and fishermen
                                                                                              Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                Deposits by individuals
                                                                                              Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                          that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                Taxes and Certain Other Debts Owed to Governmental Units

                                                                                              Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                                Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                             Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
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                                                                                          Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                          U.S.C. § 507 (a)(9).



                                                                                                Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                               Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                         alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                                           * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                           adjustment.




                                                                                                                                                    1
                                                                                                                                                   ____ continuation sheets attached
                                                                                                                  Case 8:09-bk-04432-CPM                                           Doc 1      Filed 03/11/09                                        Page 18 of 47
                                                                                         B6E (Official Form 6E) (12/07) - Cont.


                                                                                                   Mark E. Sheppard & Deborah J. Sheppard
                                                                                           In re __________________________________________________,                                                                                     Case No. _________________________________
                                                                                                                             Debtor                                                                                                                                 (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                                                 (Continuation Sheet)                                        Sec. 507(a)(8)

                                                                                                                                                                                                                                     Type of Priority for Claims Listed on This Sheet




                                                                                                                                                      HUSBAND, WIFE, JOINT




                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                  CONTINGENT
                                                                                                                                                                                                                                                                                  AMOUNT

                                                                                                                                           CODEBTOR
                                                                                                     CREDITOR’S NAME,                                                        DATE CLAIM WAS




                                                                                                                                                                                                                              DISPUTED
                                                                                                     MAILING ADDRESS                                                          INCURRED AND                                                    AMOUNT            AMOUNT               NOT
                                                                                                   INCLUDING ZIP CODE,                                                       CONSIDERATION                                                      OF            ENTITLED TO         ENTITLED
                                                                                                  AND ACCOUNT NUMBER                                                            FOR CLAIM                                                      CLAIM           PRIORITY               TO
                                                                                                    (See instructions above..)                                                                                                                                                   PRIORITY, IF
                                                                                                                                                                                                                                                                                     ANY

                                                                                         ACCOUNT NO.

                                                                                         IRS
                                                                                         Centralized Insolvency                                                                                     X                                         Unknown             Unknown         Unknown
                                                                                         PO Box 21126
                                                                                         Philadelphia, PA 19114

                                                                                         ACCOUNT NO.
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                                                                                         ACCOUNT NO.




                                                                                         ACCOUNT NO.




                                                                                                   1      1                                                                                    Subtotal                                  $           0.00     $                  $
                                                                                         Sheet no. ___ of ___continuation sheets attached to Schedule of                              (Totals of this page)
                                                                                         Creditors Holding Priority Claims
                                                                                                                                                                                              Total                                      $           0.00
                                                                                                                                                       (Use only on last page of the completed
                                                                                                                                                       Schedule E.) Report also on the Summary
                                                                                                                                                       of Schedules)

                                                                                                                                                                                               Totals                                     $                   $          0.00     $      0.00
                                                                                                                                                       (Use only on last page of the completed
                                                                                                                                                       Schedule E. If applicable, report also on
                                                                                                                                                       the Statistical Summary of Certain
                                                                                                                                                       Liabilities and Related Data.)
                                                                                                                    Case 8:09-bk-04432-CPM                                              Doc 1    Filed 03/11/09      Page 19 of 47
                                                                                         B6F (Official Form 6F) (12/07)

                                                                                                  Mark E. Sheppard & Deborah J. Sheppard
                                                                                          In re __________________________________________,                                                                Case No. _________________________________
                                                                                                                         Debtor                                                                                                                       (If known)

                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                          against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                          useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                          of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                          1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                          appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                          community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                    If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                          "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                    Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                          Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                          Related Data.
                                                                                                   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                         HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                           ORCOMMUNITY




                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                              CODEBTOR




                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                      DISPUTED
                                                                                                     CREDITOR’S NAME,                                                                                                                                                AMOUNT
                                                                                                      MAILING ADDRESS                                                                 CONSIDERATION FOR CLAIM.
                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                     OF
                                                                                                    INCLUDING ZIP CODE,                                                                                                                                               CLAIM
                                                                                                   AND ACCOUNT NUMBER                                                                          SO STATE.
                                                                                                     (See instructions above.)

                                                                                         ACCOUNT NO.         4313 0334 9077 1990
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                                                                                         AAA Visa
                                                                                         PO Box 15019                                                                                                                                                                     4,937.00
                                                                                         Wilmington, DE 19886-5019



                                                                                         ACCOUNT NO.         517805260850
                                                                                         Capital One
                                                                                         PO Box 30281                                                                                                                                                                     1,743.00
                                                                                         Salt Lake City, UT 84130



                                                                                         ACCOUNT NO.         several                                                            Account Numbers
                                                                                                                                                                                4862-3623-9681-6004
                                                                                         Capital One
                                                                                                                                                                                4791-2423-9787-3061
                                                                                         PO Box 71083                                                                                                                                                                     6,856.00
                                                                                         Charlotte, NC 28272-1083                                                               4791-2416-3021-6583




                                                                                         ACCOUNT NO.         872918
                                                                                         Cigna Tele Drug
                                                                                         PO Box 1019                                                                                                                                                                          112.00
                                                                                         Horsham, PA 19044-8019




                                                                                               1
                                                                                             _______ continuation sheets attached                                                                                       Subtotal                                 $       13,648.00
                                                                                                                                                                                                             Total                                               $
                                                                                                                                                              (Use only on last page of the completed Schedule F.)
                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                Summary of Certain Liabilities and Related Data.)
                                                                                                                  Case 8:09-bk-04432-CPM                                              Doc 1        Filed 03/11/09          Page 20 of 47
                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Mark E. Sheppard & Deborah J. Sheppard
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.      2908001197                                                        Consideration: Home Equity Line
                                                                                         CitiBank
                                                                                         PO Box 790110                                                                                                                                                                               62,099.00
                                                                                         St. Louis, MO 63179-0110



                                                                                         ACCOUNT NO.      819 2310 025358
                                                                                         Lowe's
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                                                                                         PO Box 530914                                                                                                                                                                                2,609.00
                                                                                         Atlanta, GA 30353-0914



                                                                                         ACCOUNT NO.      517805260850                                                      Consideration: Collection Agent for Capital
                                                                                                                                                                            One Account #517805260850
                                                                                         Portfolio Recovery
                                                                                         120 Corporate Blvd.                                                                                                                                                                   Notice Only
                                                                                         Norfolk, VA 23502



                                                                                         ACCOUNT NO.




                                                                                          ACCOUNT NO.




                                                                                                    1 of _____continuation
                                                                                         Sheet no. _____    1                sheets attached                                                                                     Subtotal                                  $         64,708.00
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $         78,356.00
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                   Case 8:09-bk-04432-CPM                    Doc 1          Filed 03/11/09          Page 21 of 47
                                                                                         B6G (Official Form 6G) (12/07)


                                                                                                 Mark E. Sheppard & Deborah J. Sheppard
                                                                                         In re                                                                              Case No.
                                                                                                                   Debtor                                                                              (if known)

                                                                                                 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                          State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                          names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                          contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                          guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                 Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                            DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                 NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                               DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                    OF OTHER PARTIES TO LEASE OR CONTRACT.                                  NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                                                 Case 8:09-bk-04432-CPM                      Doc 1       Filed 03/11/09            Page 22 of 47
                                                                                         B6H (Official Form 6H) (12/07)




                                                                                         In re   Mark E. Sheppard & Deborah J. Sheppard                                    Case No.
                                                                                                                  Debtor                                                                              (if known)


                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                                             Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                         debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                         property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                         Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                         name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                         commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                         commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                         parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                         Fed. Bankr. P. 1007(m).
                                                                                             Check this box if debtor has no codebtors.



                                                                                                       NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
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                                                                                            B6J (Official Form 6J)Case
                                                                                                                   (12/07)8:09-bk-04432-CPM                   Doc 1       Filed 03/11/09           Page 23 of 47

                                                                                          In re Mark E. Sheppard & Deborah J. Sheppard                                              Case No.
                                                                                                              Debtor                                                                                  (if known)

                                                                                                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                      Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
                                                                                           filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
                                                                                           calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

                                                                                                 Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
                                                                                                 labeled “Spouse.”


                                                                                         1. Rent or home mortgage payment (include lot rented for mobile home)                                                                $ _____________
                                                                                                                                                                                                                                         0.00
                                                                                                    a. Are real estate taxes included?                 Yes ________ No ________
                                                                                                    b. Is property insurance included?                 Yes ________ No ________
                                                                                         2. Utilities: a. Electricity and heating fuel                                                                                        $ ______________
                                                                                                                                                                                                                                       350.00
                                                                                                        b. Water and sewer                                                                                                    $ ______________
                                                                                                                                                                                                                                        55.00
                                                                                                        c. Telephone                                                                                                          $ ______________
                                                                                                                                                                                                                                       280.00
                                                                                                                  Cable/Land Line
                                                                                                        d. Other ___________________________________________________________________                                          $ ______________
                                                                                                                                                                                                                                        75.00
                                                                                         3. Home maintenance (repairs and upkeep)                                                                                             $ ______________
                                                                                                                                                                                                                                       175.00
                                                                                         4. Food                                                                                                                              $ ______________
                                                                                                                                                                                                                                       700.00
                                                                                         5. Clothing                                                                                                                          $ ______________
                                                                                                                                                                                                                                       200.00
                                                                                         6. Laundry and dry cleaning                                                                                                          $ ______________
                                                                                                                                                                                                                                        44.00
                                                                                         7. Medical and dental expenses                                                                                                       $ ______________
                                                                                                                                                                                                                                       150.00
                                                                                         8. Transportation (not including car payments)                                                                                       $ ______________
                                                                                                                                                                                                                                       300.00
                                                                                         9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                  $ ______________
                                                                                                                                                                                                                                       175.00
                                                                                         10.Charitable contributions                                                                                                          $ ______________
                                                                                                                                                                                                                                         0.00
                                                                                         11.Insurance (not deducted from wages or included in home mortgage payments)
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                                                                                                    a. Homeowner’s or renter’s                                                                                                $ ______________
                                                                                                                                                                                                                                         0.00
                                                                                                    b. Life                                                                                                                   $ ______________
                                                                                                                                                                                                                                        35.00
                                                                                                    c. Health                                                                                                                 $ ______________
                                                                                                                                                                                                                                         0.00
                                                                                                    d.Auto                                                                                                                    $ ______________
                                                                                                                                                                                                                                       166.00
                                                                                                    e. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                         0.00
                                                                                         12.Taxes (not deducted from wages or included in home mortgage payments)
                                                                                         (Specify)          Income Tax & SS Business                                                                                          $ ______________
                                                                                                                                                                                                                                       500.00
                                                                                         13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                                                                                                    a. Auto                                                                                                                   $______________
                                                                                                                                                                                                                                       245.00
                                                                                                    b. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                         0.00
                                                                                                    c. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                         0.00
                                                                                         14. Alimony, maintenance, and support paid to others                                                                                 $ ______________
                                                                                                                                                                                                                                         0.00
                                                                                         15. Payments for support of additional dependents not living at your home                                                            $ ______________
                                                                                                                                                                                                                                         0.00
                                                                                         16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                     $ ______________
                                                                                                                                                                                                                                         0.00
                                                                                         17. Other                                                                                                                            $______________
                                                                                                                                                                                                                                         0.00
                                                                                         18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                             $______________
                                                                                                                                                                                                                                     3,450.00
                                                                                         if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                                                                                         19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
                                                                                                   None


                                                                                         20. STATEMENT OF MONTHLY NET INCOME
                                                                                                 a. Average monthly income from Line 15 of Schedule (Includes
                                                                                                                                                    I         spouse income of $3,110.00. See Schedule I)                         5,110.00
                                                                                                                                                                                                                           $ ______________
                                                                                                 b. Average monthly expenses from Line 18 above                                                                            $ ______________
                                                                                                                                                                                                                                  3,450.00
                                                                                                 c. Monthly net income (a. minus b.)                (Net includes Debtor/Spouse combined Amounts)                                 1,660.00
                                                                                                                                                                                                                           $ ______________
                                                                                                                      Case 8:09-bk-04432-CPM
                                                                                               B6 (Official Form 6 - Declaration) (12/07)                                                             Doc 1              Filed 03/11/09                         Page 24 of 47

                                                                                                         Mark E. Sheppard & Deborah J. Sheppard
                                                                                               In re                                                                                                                                        Case No.
                                                                                                                                      Debtor                                                                                                                                   (If known)

                                                                                                                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                              DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                   17 sheets, and that they
                                                                                                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______
                                                                                               are true and correct to the best of my knowledge, information, and belief.



                                                                                                Date       March 5, 2009                                                                                             Signature:          /s/ Mark E. Sheppard
                                                                                                                                                                                                                                                                        Debtor:


                                                                                                Date       March 5, 2009                                                                                             Signature:          /s/ Deborah J. Sheppard
                                                                                                                                                                                                                                                               (Joint Debtor, if any)

                                                                                                                                                                                                                            [If joint case, both spouses must sign.]
                                                                                            -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                        DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                              I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                          compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                          110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                          by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                          accepting any fee from the debtor, as required by that section.


                                                                                          Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                          of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)
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                                                                                           If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                           who signs this document.




                                                                                           Address

                                                                                           X
                                                                                                                Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                         Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                         If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                         A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                         18 U.S.C. § 156.
                                                                                         -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                              DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                               I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                         or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                         in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                         shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                         Date                                                                                                                 Signature:


                                                                                                                                                                                                                               [Print or type name of individual signing on behalf of debtor.]
                                                                                                                          [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                          -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                 Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                              Case 8:09-bk-04432-CPM                      Doc 1        Filed 03/11/09            Page 25 of 47
                                                                                            B7 (Official Form 7) (12/07)
                                                                                                                             UNITED STATES BANKRUPTCY COURT
                                                                                                                                                 Middle District of Florida

                                                                                         In Re Mark E. Sheppard & Deborah J. Sheppard                                                         Case No.
                                                                                                                                                                                                               (if known)


                                                                                                                                    STATEMENT OF FINANCIAL AFFAIRS

                                                                                                         This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                               the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                               information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                               filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                               provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                               indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                               or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                               R. Bankr. P. 1007(m).

                                                                                                         Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                               must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                               additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                               case number (if known), and the number of the question.

                                                                                                                                                            DEFINITIONS

                                                                                                          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                               individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                               the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                               the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                               employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                               in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.
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                                                                                                          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                               their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                               percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                               such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                          1. Income from employment or operation of business

                                                                                                          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                          the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                              None        beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                          two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                          the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                          of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                          under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                          spouses are separated and a joint petition is not filed.)

                                                                                                                  AMOUNT                                                SOURCE
                                                                                                   2009(db)

                                                                                                   2008(db)      66,000.00      Wages & Business

                                                                                                   2007(db)      43,000.00      Wages & Business



                                                                                                   2009(jdb)

                                                                                                   2008(jdb)

                                                                                                   2007(jdb)
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                                                                                                2.   Income other than from employment or operation of business

                                                                                         None          State the amount of income received by the debtor other than from employment, trade, profession, or
                                                                                                operation of the debtor's business during the two years immediately preceding the commencement of this case.
                                                                                                Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                                                the spouses are separated and a joint petition is not filed.)

                                                                                                 AMOUNT                                                           SOURCE



                                                                                                3. Payments to creditors
                                                                                         None
                                                                                                Complete a. or b., as appropriate, and c.
                                                                                                a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases
                                                                                                of goods or services, and other debts to any creditor made within 90 days immediately preceding the
                                                                                                commencement of this case unless the aggregate value of all property that constitutes or is affected by such
                                                                                                transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                                                a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
                                                                                                nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13
                                                                                                must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                separated and a joint petition is not filed.)


                                                                                         NAME AND ADDRESS OF CREDITOR                           DATES OF                           AMOUNT             AMOUNT STILL
                                                                                                                                                PAYMENTS                            PAID                 OWING
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                                                                                         None
                                                                                                b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor
                                                                                                made within 90 days immediately preceding the commencement of the case unless the aggregate value of all
                                                                                                property that constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual,
                                                                                                indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                                                obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and
                                                                                                credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and
                                                                                                other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                and a joint petition is not filed.)


                                                                                         NAME AND ADDRESS OF CREDITOR                           DATES OF                           AMOUNT             AMOUNT STILL
                                                                                          AND RELATIONSHIP TO DEBTOR                            PAYMENTS                            PAID                 OWING
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                                                                                         None
                                                                                                c. All debtors: List all payments made within one year immediately preceding the commencement of this case
                                                                                                to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13
                                                                                                must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                separated and a joint petition is not filed.)


                                                                                         NAME AND ADDRESS OF CREDITOR                           DATES OF                     AMOUNT PAID           AMOUNT STILL
                                                                                          AND RELATIONSHIP TO DEBTOR                            PAYMENTS                                              OWING


                                                                                                4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                         None   a.      List all suits and administrative proceedings to which the debtor is or was a party within one year
                                                                                                immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                must include information concerning either or both spouses whether or not a joint petition is filed, unless the
                                                                                                spouses are separated and a joint petition is not filed.)


                                                                                          CAPTION OF SUIT              NATURE OF PROCEEDING                        COURT OR                              STATUS OR
                                                                                         AND CASE NUMBER                                                      AGENCY AND LOCATION                        DISPOSITION


                                                                                         None   b.      Describe all property that has been attached, garnished or seized under any legal or equitable process
                                                                                                within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
                                                                                                12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
                                                                                                petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                                            NAME AND ADDRESS OF                                    DATE OF                                    DESCRIPTION AND
                                                                                          PERSON FOR WHOSE BENEFIT                                 SEIZURE                                   VALUE OF PROPERTY
                                                                                            PROPERTY WAS SEIZED


                                                                                                5.   Repossessions, foreclosures and returns

                                                                                         None          List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a
                                                                                                deed in lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement
                                                                                                of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                                                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                joint petition is not filed.)


                                                                                             NAME AND                               DATE OF REPOSESSION,                                      DESCRIPTION AND
                                                                                            ADDRESS OF                               FORECLOSURE SALE,                                       VALUE OF PROPERTY
                                                                                         CREDITOR OR SELLER                         TRANSFER OR RETURN
                                                                                                       Case 8:09-bk-04432-CPM                    Doc 1        Filed 03/11/09           Page 28 of 47




                                                                                                  6. Assignments and Receiverships

                                                                                         None     a.      Describe any assignment of property for the benefit of creditors made within 120 days immediately
                                                                                                  preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                  any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                  and a joint petition is not filed.)


                                                                                                 NAME AND                                  DATE OF ASSIGNMENT                                TERMS OF
                                                                                                  ADDRESS                                                                                   ASSIGNMENT
                                                                                                OF ASSIGNEE                                                                                OR SETTLEMENT


                                                                                         None     b.      List all property which has been in the hands of a custodian, receiver, or court-appointed official within
                                                                                                  one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                  chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
                                                                                                  is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                 NAME AND                         NAME AND LOCATION                          DATE OF               DESCRIPTION AND
                                                                                                  ADDRESS                         OF COURT CASE TITLE                         ORDER               VALUE OF PROPERTY
                                                                                                OF CUSTODIAN                           & NUMBER



                                                                                                  7.   Gifts

                                                                                         None           List all gifts or charitable contributions made within one year immediately preceding the commencement of
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                                                                                                  this case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual
                                                                                                  family member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing
                                                                                                  under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
                                                                                                  joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                NAME AND                           RELATIONSHIP                        DATE OF                 DESCRIPTION AND
                                                                                               ADDRESS OF                        TO DEBTOR, IF ANY                       GIFT                   VALUE OF GIFT
                                                                                         PERSON OR ORGANIZATION


                                                                                                  8.   Losses

                                                                                         None            List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                  commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12
                                                                                                  or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
                                                                                                  spouses are separated and a joint petition is not filed.)


                                                                                            DESCRIPTION                          DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                              DATE OF
                                                                                            AND VALUE                               WAS COVERED IN WHOLE OR IN PART BY                                    LOSS
                                                                                            OF PROPERTY                                 INSURANCE, GIVE PARTICULARS
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                                                                                                   9.   Payments related to debt counseling or bankruptcy

                                                                                         None              List all payments made or property transferred by or on behalf of the debtor to any persons, including
                                                                                                   attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a
                                                                                                   petition in bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                    NAME AND ADDRESS                         DATE OF PAYMENT,                             AMOUNT OF MONEY OR
                                                                                                        OF PAYEE                             NAME OF PAYOR IF                               DESCRIPTION AND
                                                                                                                                            OTHER THAN DEBTOR                              VALUE OF PROPERTY


                                                                                                   10. Other transfers

                                                                                         None      a.     List all other property, other than property transferred in the ordinary course of the business or financial
                                                                                                   affairs of the debtor, transferred either absolutely or as security within two years immediately preceding the
                                                                                                   commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
                                                                                                   either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
                                                                                                   is not filed.)


                                                                                           NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                               RELATIONSHIP TO DEBTOR                                                                          TRANSFERRED AND
                                                                                                                                                                                                VALUE RECEIVED


                                                                                                   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
                                                                                                   case to a self-settled trust or similar device of which the debtor is a beneficiary.
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                                                                                         None

                                                                                                NAME OF TRUST OR OTHER DEVICE                                DATE(S) OF                      AMOUNT OF MONEY OR
                                                                                                                                                            TRANSFER(S)                        DESCRIPTION AND
                                                                                                                                                                                              VALUE OF PROPERTY
                                                                                                                                                                                             OR DEBTOR'S INTEREST
                                                                                                                                                                                                 IN PROPERTY

                                                                                                   11. Closed financial accounts

                                                                                         None             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor
                                                                                                   which were closed, sold, or otherwise transferred within one year immediately preceding the commencement of
                                                                                                   this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments;
                                                                                                   shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage
                                                                                                   houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                   information concerning accounts or instruments held by either or both spouses whether or not a joint petition is
                                                                                                   filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                  NAME AND                           TYPE OF ACCOUNT, LAST FOUR                                       AMOUNT AND
                                                                                                   ADDRESS                           DIGITS OF ACCOUNT NUMBER,                                        DATE OF SALE
                                                                                                OF INSTITUTION                      AND AMOUNT OF FINAL BALANCE                                        OR CLOSING
                                                                                                       Case 8:09-bk-04432-CPM                      Doc 1        Filed 03/11/09            Page 30 of 47




                                                                                                   12. Safe deposit boxes

                                                                                         None             List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                   valuables within one year immediately preceding the commencement of this case.                (Married debtors filing
                                                                                                   under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
                                                                                                   joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                     NAME AND                     NAMES AND ADDRESSES OF                   DESCRIPTION OF              DATE OF
                                                                                                  ADDRESS OF BANK                THOSE WITH ACCESS TO BOX                    CONTENTS                TRANSFER OR
                                                                                                OR OTHER DEPOSITORY                   OR DEPOSITORY                                                SURRENDER, IF ANY

                                                                                         Whitney Bank                                                                       Empty


                                                                                                   13. Setoffs

                                                                                         None             List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90
                                                                                                   days preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                   include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
                                                                                                   are separated and a joint petition is not filed.)


                                                                                                NAME AND ADDRESS OF CREDITOR                                 DATE                                 AMOUNT
                                                                                                                                                              OF                                     OF
                                                                                                                                                            SETOFF                                 SETOFF

                                                                                                   14. Property held for another person
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                                                                                         None           List all property owned by another person that the debtor holds or controls.


                                                                                                    NAME AND                               DESCRIPTION AND                             LOCATION OF PROPERTY
                                                                                                 ADDRESS OF OWNER                         VALUE OF PROPERTY


                                                                                                   15. Prior address of debtor
                                                                                         None
                                                                                                          If the debtor has moved within the three years immediately preceding the commencement of this case, list
                                                                                                   all premises which the debtor occupied during that period and vacated prior to the commencement of this case.
                                                                                                   If a joint petition is filed, report also any separate address of either spouse.


                                                                                                 ADDRESS                                          NAME USED                                   DATES OF OCCUPANCY
                                                                                                     Case 8:09-bk-04432-CPM                      Doc 1       Filed 03/11/09           Page 31 of 47




                                                                                                 16. Spouses and Former Spouses
                                                                                         None
                                                                                                    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                 Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
                                                                                                 within eight years immediately preceding the commencement of the case, identify the name of the debtor’s
                                                                                                 spouse and of any former spouse who resides or resided with the debtor in the community property state.


                                                                                                             NAME


                                                                                                 17. Environmental Sites

                                                                                                 For the purpose of this question, the following definitions apply:

                                                                                                 "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                 releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater,
                                                                                                 or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                 wastes, or material.

                                                                                                           "Site" means any location, facility, or property as defined under any Environmental Law, whether or
                                                                                                           not presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                           "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic
                                                                                                           substance, hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                         None
                                                                                                 a.       List the name and address of every site for which the debtor has received notice in writing by a
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                                                                                                 governmental unit that it may be liable or potentially liable under or in violation of an Environmental Law.
                                                                                                 Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                 SITE NAME                      NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                AND ADDRESS                   OF GOVERNMENTAL UNIT                        NOTICE                      LAW


                                                                                                 b.     List the name and address of every site for which the debtor provided notice to a governmental unit of a
                                                                                                 release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                         None

                                                                                                 SITE NAME                      NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                AND ADDRESS                   OF GOVERNMENTAL UNIT                        NOTICE                      LAW


                                                                                                 c.      List all judicial or administrative proceedings, including settlements or orders, under any Environmental
                                                                                                 Law with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit
                                                                                         None    that is or was a party to the proceeding, and the docket number.


                                                                                                  NAME AND ADDRESS                            DOCKET NUMBER                             STATUS OR DISPOSITION
                                                                                                OF GOVERNMENTAL UNIT
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                                                                                                           18. Nature, location and name of business

                                                                                                None       a.     If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                           businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
                                                                                                           partner, or managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a
                                                                                                           trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                                                           commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
                                                                                                           within the six years immediately preceding the commencement of this case.

                                                                                                           If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                                                                                                           and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more
                                                                                                           of the voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                           If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                           businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                                                                                                           percent or more of the voting or equity securities within the six years immediately preceding the commencement
                                                                                                           of this case.

                                                                                                  NAME              LAST FOUR DIGITS OF                     ADDRESS                      NATURE OF BUSINESS BEGINNING AND
                                                                                                                    SOCIAL-SECURITY OR                                                                      ENDING DATES
                                                                                                                     OTHER INDIVIDUAL
                                                                                                                      TAXPAYER-I.D. NO.
                                                                                                                    (ITIN)/ COMPLETE EIN
                                                                                                Sheppard Sound &
                                                                                                Security Inc


                                                                                                           b.    Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined
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                                                                                                           in 11 U.S.C. § 101.
                                                                                                None

                                                                                                           NAME                                                                                      ADDRESS




                                                                                                                        [Questions 19 - 25 are not applicable to this case]
                                                                                                                                                *    *    *    *    *    *


                                                                                                [If completed by an individual or individual and spouse]

                                                                                                I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
                                                                                                attachments thereto and that they are true and correct.
                                                                                                March 5, 2009                                                                    /s/ Mark E. Sheppard
                                                                                         Date                                                            Signature
                                                                                                                                                         of Debtor               MARK E. SHEPPARD

                                                                                         Date   March 5, 2009                                            Signature               /s/ Deborah J. Sheppard
                                                                                                                                                         of Joint Debtor         DEBORAH J. SHEPPARD
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                                                                                                                                                                 0 continuation sheets attached
                                                                                                                                                               _____


                                                                                                             Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                         compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b);
                                                                                         (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition
                                                                                         preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
                                                                                         debtor, as required in that section.




                                                                                         Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                         If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                         partner who signs this document.
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                                                                                         Address

                                                                                         X
                                                                                         Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                         Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                         not an individual:

                                                                                         If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                         A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                         or imprisonment or both. 18 U.S.C. §156.
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                                                                                         B 201 (12/08)
                                                                                                                           UNITED STATES BANKRUPTCY COURT
                                                                                                                                      Middle District of Florida
                                                                                                      NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                                                                                                    OF THE BANKRUPTCY CODE
                                                                                                   In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                                                                                          Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                                          costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
                                                                                          notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

                                                                                                  You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                                          advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
                                                                                          cannot give you legal advice.

                                                                                                  Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
                                                                                          ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
                                                                                          court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
                                                                                          each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
                                                                                          receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
                                                                                          statement with the court requesting that each spouse receive a separate copy of all notices.

                                                                                         1. Services Available from Credit Counseling Agencies
                                                                                                  With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                                         bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
                                                                                         counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before
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                                                                                         the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone
                                                                                         or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States
                                                                                         trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved
                                                                                         budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                                                                                 In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                                                                                         management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                                         financial management instructional courses. Each debtor in a joint case must complete the course.

                                                                                         2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                                                   Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
                                                                                                   1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                                         Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                                                                                         should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                                                                                         residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your case
                                                                                         under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
                                                                                                   2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
                                                                                         right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
                                                                                                   3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
                                                                                         have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
                                                                                         and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                                                   4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
                                                                                         may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                                                                                         and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                                                                                         which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
                                                                                         vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
                                                                                         breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
                                                                                         not discharged.
                                                                                         B201                   Case 8:09-bk-04432-CPM                  Doc 1       Filed 03/11/09         Page 35 of 47          Page 2
                                                                                                 Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                                                                                         $39 administrative fee: Total fee $274)
                                                                                                 1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
                                                                                         their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain
                                                                                         dollar amounts set forth in the Bankruptcy Code.
                                                                                                 2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
                                                                                         owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                                                                                         depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                                                 3. After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                                         obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                                         properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
                                                                                         secured obligations.

                                                                                                 Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
                                                                                                 Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
                                                                                         are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

                                                                                                 Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
                                                                                                 Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                                         future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                                         income arises primarily from a family-owned farm or commercial fishing operation.

                                                                                         3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                                                  A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                                                                                         perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
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                                                                                         information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                                                                                         acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                                         employees of the Department of Justice.

                                                                                         WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
                                                                                         creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
                                                                                         information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
                                                                                         local rules of the court.
                                                                                                                          Certificate of [Non-Attorney] Bankruptcy Petition Preparer
                                                                                                   I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor
                                                                                         this notice required by § 342(b) of the Bankruptcy Code.
                                                                                         ________________________________________                                ___________________________________
                                                                                         Printed Name and title, if any, of Bankruptcy Petition Preparer         Social Security number (If the bankruptcy petition
                                                                                         Address:                                                                preparer is not an individual, state the Social Security
                                                                                         ________________________________________                                number of the officer, principal, responsible person, or partner of
                                                                                                                                                                 the bankruptcy petition preparer.) (Required
                                                                                         X_______________________________________                                by 11 U.S.C. § 110.)
                                                                                         Signature of Bankruptcy Petition Preparer or officer,
                                                                                         principal, responsible person, or partner whose Social
                                                                                         Security number is provided above.

                                                                                                                                                  Certificate of the Debtor
                                                                                                  I (We), the debtor(s), affirm that I (we) have received and read this notice.

                                                                                         Mark E. Sheppard & Deborah J. Sheppard
                                                                                         ______________________________________________                              /s/ Mark E. Sheppard      March 5, 2009
                                                                                                                                                                   X___________________________________
                                                                                         Printed Name(s) of Debtor(s)                                              Signature of Debtor    Date

                                                                                         Case No. (if known) ____________________                                    /s/ Deborah J. Sheppard        March 5, 2009
                                                                                                                                                                   X___________________________________
                                                                                                                                                                   Signature of Joint Debtor (if any) Date
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  AAA Visa
  PO Box 15019
  Wilmington DE 19886-5019

  Capital One
  PO Box 260848
  Plano TX 75026-0848

  Capital One
  PO Box 30281
  Salt Lake City UT 84130

  Capital One
  PO Box 71083
  Charlotte NC 28272-1083

  Cigna Tele Drug
  PO Box 1019
  Horsham PA 19044-8019

  Citi Mortgage
  PO Box 689196
  Des Moines IA 50368-9196

  CitiBank
  PO Box 790110
  St Louis MO 63179-0110

  IRS
  Centralized Insolvency
  PO Box 21126
  Philadelphia PA 19114


  Lowes
  PO Box 530914
  Atlanta GA 30353-0914

  Portfolio Recovery
  120 Corporate Blvd
  Norfolk VA 23502
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                                     UNITED STATES BANKRUPTCY COURT
                                            Middle District of Florida


In re    Mark E. Sheppard & Deborah J. Sheppard              ,
                                         Debtor                            Case No.

                                                                                        13
                                                                           Chapter



                                    VERIFICATION OF LIST OF CREDITORS


        I hereby certify under penalty of perjury that the attached List of Creditors which consists of 1 page, is true,

correct and complete to the best of my knowledge.



          March 5, 2009                                                  /s/ Mark E. Sheppard
Date                                                  Signature
                                                      of Debtor          MARK E. SHEPPARD

Date      March 5, 2009                               Signature          /s/ Deborah J. Sheppard
                                                      of Joint Debtor    DEBORAH J. SHEPPARD




D. Turner Matthews
   1720 Manatee
   Avenue West
Bradenton, FL 34205
   941-794-8722
   941-750-9877
                                                                                                                    Case 8:09-bk-04432-CPM                       Doc 1        Filed 03/11/09            Page 38 of 47
                                                                                         B203
                                                                                         12/94
                                                                                                                                  United States Bankruptcy Court
                                                                                                                                                      Middle District of Florida
                                                                                                 In re Mark E. Sheppard & Deborah J. Sheppard                                          Case No. ____________________
                                                                                                                                                                                       Chapter           13
                                                                                                                                                                                                    ____________________
                                                                                                 Debtor(s)
                                                                                                                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                         1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                 and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                 rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                              3,600.00
                                                                                                 For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                                                                                                                  1,025.00
                                                                                                 Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                             2,575.00
                                                                                                 Balance Due ......................................……………………………………….................... $ ______________

                                                                                         2.      The source of compensation paid to me was:

                                                                                                                  Debtor                  Other (specify)
                                                                                         3.      The source of compensation to be paid to me is:
                                                                                                                  Debtor                  Other (specify)

                                                                                         4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                                         associates of my law firm.

                                                                                                    I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                                         of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.
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                                                                                         5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                                  a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                  b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                  c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




                                                                                          6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                                                                                          Representation in adversary and contested matters




                                                                                                                                                                 CERTIFICATION

                                                                                                         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                      debtor(s) in the bankruptcy proceeding.


                                                                                                         March 5, 2009
                                                                                                      ____________________________________                                /s/ D. Turner Matthews
                                                                                                                                                                        __________________________________________________
                                                                                                                     Date                                                                 Signature of Attorney

                                                                                                                                                                        __________________________________________________
                                                                                                                                                                                         Name of law firm
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                                                                                                                                                      According to the calculations required by this statement:
                                                                                                 Mark E. Sheppard & Deborah J. Sheppard                The applicable commitment period is 3 years.
                                                                                         In re
                                                                                                                    Debtor(s)                          The applicable commitment period is 5 years.
                                                                                                                                                       Disposable income is determined under § 1325(b)(3).
                                                                                         Case Number:
                                                                                                                  (If known)
                                                                                                                                                       Disposable income not determined under § 1325(b)(3).
                                                                                                                                                     (Check the boxes as directed in Lines 17 and 23 of this statement.)

                                                                                                       CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                 AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                                                         In addition to Schedule I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing
                                                                                         jointly. Joint debtors may complete one statement only.

                                                                                                                                           Part I. REPORT OF INCOME
                                                                                                  Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.

                                                                                                   a.      Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
                                                                                                   b.      Married. Complete both Column A (“Debtor’s Income”) and Column B ("Spouse’s Income") for Lines 2-10.
                                                                                           1       All figures must reflect average monthly income received from all sources, derived during the       Column A      Column B
                                                                                                   six calendar months prior to filing the bankruptcy case, ending on the last day of the month        Debtor’s      Spouse’s
                                                                                                   before the filing. If the amount of monthly income varied during the six months, you must            Income        Income
                                                                                                   divide the six-month total by six, and enter the result on the appropriate line.
                                                                                            2     Gross wages, salary, tips, bonuses, overtime, commissions.                                       $       0.00 $     4,227.00
                                                                                                  Income from the operation of a business, profession or farm. Subtract Line b from
                                                                                                  Line a and enter the difference in the appropriate column(s) of Line 3. If you operate more
                                                                                                  than one business, profession or farm, enter aggregate numbers and provide details on an
                                                                                                  attachment. Do not enter a number less than zero. Do not include any part of the
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                                                                                            3     business expenses entered on Line b as a deduction in Part IV.

                                                                                                    a.        Gross receipts                                    $                      0.00
                                                                                                    b.        Ordinary and necessary business expenses          $                      0.00
                                                                                                    c.        Business income                                   Subtract Line b from Line a
                                                                                                                                                                                                   $    2,000.00 $         0.00
                                                                                                  Rents and other real property income. Subtract Line b from Line a and enter the
                                                                                                  difference in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do
                                                                                                  not include any part of the operating expenses entered on Line b as a deduction in
                                                                                                  Part IV.
                                                                                            4       a.        Gross receipts                                    $                      0.00
                                                                                                    b.        Ordinary and necessary operating expenses         $                      0.00
                                                                                                    c.        Rent and other real property income               Subtract Line b from Line a
                                                                                                                                                                                                   $       0.00 $          0.00
                                                                                            5     Interest, dividends and royalties.                                                               $       0.00 $          0.00
                                                                                            6     Pension and retirement income.                                                                   $       0.00 $          0.00
                                                                                                  Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                            7     expenses of the debtor or the debtor's dependents, including child support paid for
                                                                                                  that purpose. Do not include alimony or separate maintenance payments or amounts paid
                                                                                                  by the debtor’s spouse.                                                                          $       0.00 $          0.00
                                                                                                   Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
                                                                                                   However, if you contend that unemployment compensation received by you or your spouse
                                                                                                   was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                                            8      Column A or B, but instead state the amount in the space below:

                                                                                                        Unemployment compensation claimed to
                                                                                                        be a benefit under the Social Security Act   Debtor $       0.00   Spouse $    0.00                0.00 $          0.00
                                                                                                                                                                                                   $
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                                                                                               Income from all other sources. Specify source and amount. If necessary, list additional
                                                                                               sources on a separate page. Total and enter on Line 9. Do not include alimony or
                                                                                               separate maintenance payments paid by your spouse, but include all other
                                                                                               payments of alimony or separate maintenance. Do not include any benefits received
                                                                                          9    under the Social Security Act or payments received as a victim of a war crime, crime against
                                                                                               humanity, or as a victim of international or domestic terrorism.

                                                                                                  a.                                                                        $        0.00
                                                                                                  b.                                                                        $        0.00                 0.00             0.00
                                                                                                                                                                                                $                $

                                                                                               Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
                                                                                         10    through 9 in Column B. Enter the total(s).                                                       $    2,000.00 $       4,227.00
                                                                                               Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and
                                                                                          11   enter the total. If Column B has not been completed, enter the amount from Line 10,              $                     6,227.00
                                                                                               Column A.

                                                                                                           Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
                                                                                         12    Enter the Amount from Line 11.                                                                               $         6,227.00
                                                                                               Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend
                                                                                               that calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of
                                                                                               your spouse, enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid
                                                                                               on a regular basis for the household expenses of you or your dependents and specify, in the lines below,
                                                                                               the basis for excluding this income (such as payment of the spouse's tax liability or the spouse's support
                                                                                               of persons other than the debtor or the debtor's dependents) and the amount of income devoted to each
                                                                                               purpose. If necessary, list additional adjustments on a separate page. If the conditions for entering this
                                                                                          13   adjustment do not apply, enter zero.

                                                                                                 a.                                                                         $        0.00
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                                                                                                 b.                                                                         $        0.00
                                                                                                 c.                                                                         $
                                                                                                                                                                                     0.00
                                                                                                                                                                                                                           0.00
                                                                                               Total and enter on Line 13.                                                                                  $

                                                                                         14    Subtract Line 13 from Line 12 and enter the result.                                                          $         6,227.00
                                                                                         15    Annualized current monthly income for §1325(b)(4). Multiply the amount from Line 14 by
                                                                                               the number 12 and enter the result.                                                                          $        74,724.00
                                                                                               Applicable median family income. Enter the median family income for the applicable state and
                                                                                         16    household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
                                                                                               the bankruptcy court.)
                                                                                                                                       Florida
                                                                                               a. Enter debtor’s state of residence: _______________                                           3
                                                                                                                                                          b. Enter debtor’s household size: __________      $        57,937.00
                                                                                               Application of §1325(b)(4). Check the applicable box and proceed as directed.

                                                                                                       The amount on Line 15 is less than or equal to the amount on Line 16. Check the box for "The
                                                                                                       applicable commitment period is 3 years" at the top of page 1 of this statement and continue with this statement.
                                                                                         17
                                                                                                       The amount on Line 15 is more than the amount on Line 16. Check the box for "The applicable
                                                                                                       commitment period is 5 years" at the top of page 1 of this statement and continue with this statement.


                                                                                           Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
                                                                                         18    Enter the Amount from Line11.                                                                                $         6,227.00
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                                                                                               Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19
                                                                                         19    the total of any income listed in Line 10, Column B that was NOT paid on a regular basis for the
                                                                                               household expenses of you or your dependents. Specify, in the lines below, the basis for excluding the
                                                                                               Column B income (such as payment of the spouse's tax liability or the spouse's support of persons other
                                                                                               than the debtor or the debtor's dependents) and the amount of income devoted to each purpose. If
                                                                                               necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment
                                                                                               do not apply, enter zero.


                                                                                                 a.                                                                        $        0.00
                                                                                                 b.                                                                        $        0.00
                                                                                                 c.                                                                        $        0.00

                                                                                               Total and enter on Line 19.                                                                                 $           0.00
                                                                                         20    Current monthly income for §1325(b)(3). Subtract Line 19 from Line 18 and enter the result. $                      6,227.00
                                                                                         21    Annualized current monthly income for §1325(b)(3). Multiply the amount from Line 20 by
                                                                                               the number 12 and enter the result.                                                                         $     74,724.00
                                                                                         22    Applicable median family income. Enter the amount from Line 16.                                             $
                                                                                                                                                                                                                 57,937.00
                                                                                               Application of §1325(b)(3). Check the applicable box and proceed as directed.
                                                                                                       The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income
                                                                                                       is determined under §1325(b)(3)." at the top of page 1 of this statement and complete the remaining parts of this
                                                                                         23            statement.
                                                                                                       The amount on Line 21 is not more than the amount on Line 22. Check the box for " Disposable
                                                                                                       income is not determined under §1325(b)(3)" at the top of page 1 of this statement and continue with Part VII of
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                                                                                                       this statement. Do not complete Parts IV, V or VI.


                                                                                                                 Part IV. CALCULATION OF DEDUCTIONS FROM INCOME

                                                                                               Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                                               National Standards: food, clothing, household supplies, personal care, and
                                                                                         24A   miscellaneous. Enter “Total” amount from IRS National Standards for Allowable Living Expenses for
                                                                                               the applicable family size and income level. (This information is available at www.usdoj.gov/ust/ or from
                                                                                               the clerk of the bankruptcy court.)                                                                       $        1,151.00
                                                                                               National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
                                                                                               Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards
                                                                                               for persons 65 years of age or older. (This information is available at www.usdoj.gov/ust/ or from the
                                                                                               clerk of the bankruptcy court.) Enter in Line b1 the number of members of your household who are
                                                                                               under 65 years of age, and enter in Line b2 the number of members of your household who are 65 years
                                                                                               or older. (The total number of household members must be the same as the number stated in Line
                                                                                               16b). Multiply line a1 by Line b1 to obtain a total amount for household members under 65, and enter
                                                                                               the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household members 65
                                                                                         24B   and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and
                                                                                               enter the result in Line 19B.

                                                                                                Household members under 65 years of age             Household members 65 years of age or older

                                                                                                 a1.      Allowance per member             57.00     a2.     Allowance per member            144.00
                                                                                                 b1.      Number of members                   3      b2.    Number of members                     0
                                                                                                 c1.      Subtotal                        171.00     c2.     Subtotal                          0.00        $        171.00
                                                                                               Local Standards: housing and utilities; non-mortgage expenses Enter amount of the IRS
                                                                                         25A   Housing and Utilities Standards; non-mortgage expenses for the applicable county and household size.
                                                                                               (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)     $               494.00
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                                                                                               Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the
                                                                                               amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size
                                                                                               (this information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on
                                                                                               Line b the total of the Average Monthly Payments for any debts secured by your home, as stated in Line 47;
                                                                                               subtract Line b from Line a and enter the result in Line 25B. Do not enter an amount less than zero.
                                                                                                                                             MANATEE COUNTY
                                                                                                 a.        IRS Housing and Utilities Standards; mortgage/rental expense   $                  909.00
                                                                                         25B
                                                                                                           Average Monthly Payment for any debts secured by your
                                                                                                 b.
                                                                                                           home, if any, as stated in Line 47                             $                     0.00
                                                                                                 c.        Net mortgage/rental expense                                    Subtract Line b from Line a.         $   909.00
                                                                                               Local Standards: housing and utilities; adjustment. If you contend that the process set out in
                                                                                               Lines 25A and 25B does not accurately compute the allowance to which you are entitled under the IRS
                                                                                               Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
                                                                                               state the basis for your contention in the space below:
                                                                                         26



                                                                                                                                                                                                               $     0.00

                                                                                               Local Standards: transportation; vehicle operation/public transportation expense.
                                                                                               You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
                                                                                               operating a vehicle and regardless of whether you use public transportation. SOUTH REGION

                                                                                               Check the number of vehicles for which you pay the operating expenses or for which the operating
                                                                                         27A   expenses are included as a contribution to your household expenses in Line 7.   0      1      2 or more.
                                                                                               If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
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                                                                                               Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from
                                                                                               IRS Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                                               Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
                                                                                               of the bankruptcy court.)                                                                                       $   201.00
                                                                                               Local Standards: transportation; additional public transportation expense. If you pay
                                                                                               the operating expenses for a vehicle and also use public transportation, and you contend that you are
                                                                                         27B   entitled to an additional deduction for your public transportation expenses, enter on Line 27B the "Public
                                                                                               Transportation" amount from the IRS Local Standards: Transportation. (This amount is available at
                                                                                               www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                  $     0.00

                                                                                               Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number
                                                                                               of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease
                                                                                               expense for more than two vehicles.)       1        2 or more.
                                                                                               Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
                                                                                               (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                               Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
                                                                                               Line a and enter the result in Line 28. Do not enter an amount less than zero.
                                                                                         28
                                                                                                      a.     IRS Transportation Standards, Ownership Costs, First Car         $              489.00
                                                                                                             Average Monthly Payment for any debts secured by Vehicle
                                                                                                      b.                                                                      $
                                                                                                             1, as stated in Line 47                                                         245.00
                                                                                                      c.     Net ownership/lease expense for Vehicle 1                        Subtract Line b from Line a.         244.00
                                                                                                                                                                                                               $
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                                                                                              Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
                                                                                              only if you checked the “2 or more” Box in Line 28
                                                                                              Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
                                                                                              (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
                                                                                              that Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b
                                                                                              from Line a and enter the result in Line 29. Do not enter an amount less than zero.
                                                                                         29
                                                                                                  a.     IRS Transportation Standards, Ownership Costs, Second Car            $                     489.00
                                                                                                         Average Monthly Payment for any debts secured by Vehicle
                                                                                                  b.                                                                          $
                                                                                                         2, as stated in Line 47                                                                       0.00
                                                                                                  c.     Net ownership/lease expense for Vehicle 2                            Subtract Line b from Line a.
                                                                                                                                                                                                                $      0.00
                                                                                              Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
                                                                                         30   for all for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes,
                                                                                              self employment taxes, social security taxes, and Medicare taxes. Do not include real estate or sales
                                                                                              taxes.                                                                                                            $   1,112.00
                                                                                              Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly
                                                                                              payroll deductions that are required for your employment, such as mandatory retirement contributions,
                                                                                         31
                                                                                              union dues, and uniform costs. Do not include discretionary amounts, such as non-mandatory
                                                                                              401(k) contributions.                                                                                             $      0.00
                                                                                              Other Necessary Expenses: life insurance. Enter total average monthly premiums that you
                                                                                         32   actually pay for term life insurance for yourself. Do not include premiums on your dependents, for
                                                                                              whole life or for any other form of insurance.                                                                    $
                                                                                                                                                                                                                      35.00
                                                                                              Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that
                                                                                         33   you are required to pay pursuant to the order of a court or administrative agency, such as spousal or child
                                                                                              support payments. Do not include payments on past due support obligations included in Line 49.                    $      0.00
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                                                                                              Other Necessary Expenses: education for employment or for a physically or mentally
                                                                                              challenged child. Enter the total monthly amount that you actually expend for education that is a
                                                                                         34
                                                                                              condition of employment and for education that is required for a physically or mentally challenged
                                                                                                                                                                                                                $      0.00
                                                                                              dependent child for whom no public education providing similar services is available.
                                                                                              Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually
                                                                                         35   expend on childcare—such as baby-sitting, day care, nursery and preschool. Do not include other
                                                                                              educational payments.                                                                                             $      0.00
                                                                                               Other Necessary Expenses: health care. Enter the total average monthly amount that you
                                                                                               actually expend on health care that is required for the health and welfare of yourself or your dependents,
                                                                                         36    that is not reimbursed by insurance or paid by a health savings account, and that is in excess of the
                                                                                               amount entered in Line 24B. Do not include payments for health insurance or health savings
                                                                                               accounts listed in Line 39.                                                                                $            0.00
                                                                                              Other Necessary Expenses: telecommunication services. Enter the total average monthly
                                                                                              amount that you actually pay for telecommunications services other than your basic home telephone and
                                                                                         37   cell phone service – such as pagers, call waiting, caller id, special long distance, or internet service—to the
                                                                                              extent necessary for your health and welfare or that of your dependents. Do not include any amount
                                                                                              previously deducted.                                                                                              $      0.00
                                                                                         38    Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                              $   4,317.00
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                                                                                         B22C (Official Form 22C) (Chapter 13) (01/08) - Cont.
                                                                                                                                                                                                                         6
                                                                                                                          Subpart B: Additional Living Expense Deductions
                                                                                                                Note: Do not include any expenses that you have listed in Lines 24-37
                                                                                               Health Insurance, Disability Insurance and Health Savings Account Expenses. List the
                                                                                               monthly expenses in the categories set out in lines a-c below that are reasonably necessary for yourself,
                                                                                               your spouse, or your dependents.
                                                                                                      a.     Health Insurance                                                 $                    505.00
                                                                                                      b.     Disability Insurance                                             $
                                                                                          39                                                                                                           0.00
                                                                                                      c.     Health Savings Account                                           $
                                                                                                                                                                                                       0.00
                                                                                                                                                                                                              $    505.00
                                                                                                    Total and enter on Line 39
                                                                                                    If you do not actually expend this total amount, state your actual average expenditures in the
                                                                                                    space below:
                                                                                                     $         0.00

                                                                                               Continued contributions to the care of household or family members. Enter the total
                                                                                          40   average actual monthly expenses that you will continue to pay for the reasonable and necessary care and
                                                                                               support of an elderly, chronically ill, or disabled member of your household or member of your immediate
                                                                                               family who is unable to pay for such expenses. Do not include payments listed in Line 34.                $            0.00
                                                                                               Protection against family violence. Enter the total average reasonably necessary monthly
                                                                                          41   expenses that you actually incur to maintain the safety of your family under the Family Violence
                                                                                               Prevention and Services Act or other applicable federal law. The nature of these expenses is required to
                                                                                                                                                                                                              $      0.00
                                                                                               be kept confidential by the court.
                                                                                               Home energy costs. Enter the total average monthly amount, in excess of the allowance specified
                                                                                               by IRS Local Standards for Housing and Utilities that you actually expend for home energy costs. You
                                                                                          42   must provide your case trustee with documentation of your actual expenses, and you must
                                                                                               demonstrate that the additional amount claimed is reasonable and necessary.                                    $      0.00
                                                                                               Education expenses for dependent children under 18. Enter the total average monthly
                                                                                               expenses that you actually incur, not to exceed $137.50 per child, for attendance at a private or public
                                                                                               elementary or secondary school by your dependent children less than 18 years of age. You must provide
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                                                                                          43
                                                                                               your case trustee with documentation of your actual expenses, and you must explain why the
                                                                                               the amount claimed is reasonable and necessary and not already accounted for in the IRS                               0.00
                                                                                                                                                                                                        $
                                                                                               Standards.

                                                                                               Additional food and clothing expense. Enter the total average monthly amount by which your
                                                                                               food and clothing expenses exceed the combined allowances for food and clothing (apparel and services) in
                                                                                          44   the IRS National Standards, not to exceed 5% of those combined allowances. (This information is available
                                                                                               at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the
                                                                                               additional amount claimed is reasonable and necessary.                                                    $          42.00

                                                                                                Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
                                                                                          45    charitable contributions in the form of cash or financial instruments to a charitable organization as defined
                                                                                                in in the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. §
                                                                                                                                                                                                              $      0.00
                                                                                                170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.

                                                                                          46   Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45. $                       547.00
                                                                                                                                Subpart C: Deductions for Debt Payment

                                                                                                Future payments on secured claims. For each of your debts that is secured by an interest in
                                                                                                property that you own, list the name of creditor, identify the property securing the debt, and state the
                                                                                                Average Monthly Payment, and check whether the payment includes taxes and insurance. The Average
                                                                                                Monthly Payment is the total of all amounts scheduled as contractually due to each Secured Creditor in the
                                                                                                60 months following the filing of the bankruptcy case, divided by 60. Mortgage debts should include
                                                                                                payments of taxes and insurance required by the mortgage. If necessary, list additional entries on a
                                                                                                separate page. Enter the total of the Average Monthly Payments on Line 47.
                                                                                          47

                                                                                                           Name of Creditor            Property Securing the Debt           Average          Does payment
                                                                                                                                                                            Monthly          include taxes
                                                                                                                                                                            Payment          or insurance?
                                                                                               a.    Citimortgage                   Residence                           $         1,300.00       yes     no
                                                                                               b.    Capital One                    2001 Chevy Silverado                $          103.33        yes     no

                                                                                               c.                                                                       $            0.00        yes     no
                                                                                                                                                                       Total: Add Lines
                                                                                                                                                                       a, b and c                             $
                                                                                                                                                                                                                  1,403.33
                                                                                                            Case 8:09-bk-04432-CPM                Doc 1      Filed 03/11/09        Page 45 of 47
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                                                                                                                                                                                                                        7




                                                                                              Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary
                                                                                              residence, a motor vehicle, or other property necessary for your support or the support of your
                                                                                              dependents, you may include in your deduction 1/60th of any amount (the “cure amount”) that you must
                                                                                              pay the creditor in addition to the payments listed in Line 47, in order to maintain possession of the
                                                                                              property. The cure amount would include any sums in default that must be paid in order to avoid
                                                                                              repossession or foreclosure. List and total any such amounts in the following chart. If necessary, list
                                                                                              additional entries on a separate page.
                                                                                         48                  Name of Creditor             Property Securing the Debt         1/60th of the Cure Amount
                                                                                              a.    Citimortgage                      Residence                             $                        75.00
                                                                                              b.                                                                                                      0.00
                                                                                                                                                                            $
                                                                                              c.                                                                            $                         0.00
                                                                                                                                                                             Total: Add Lines a, b and c     $     75.00
                                                                                              Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority
                                                                                         49   claims, such as priority tax, child support and alimony claims, for which you were liable at the time of
                                                                                              your bankruptcy filing. Do not include current obligations, such as those set out in Line 33.                  $
                                                                                                                                                                                                                    0.00
                                                                                               Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and
                                                                                               enter the resulting administrative expense.
                                                                                               a.        Projected average monthly Chapter 13 plan payment.                 $             1,660.00
                                                                                                         Current multiplier for your district as determined under
                                                                                               b.        schedules issued by the Executive Office for United States
                                                                                         50              Trustees. (This information is available at www.usdoj.gov/ust/
                                                                                                         or from the clerk of the bankruptcy court.)                        x                  7.5 %
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                                                                                               c.        Average monthly administrative expense of Chapter 13 case          Total: Multiply Lines a and b
                                                                                                                                                                                                             $    124.50
                                                                                         51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.
                                                                                                                                                                                                             $   1,602.83
                                                                                                                            Subpart D: Total Deductions from Income
                                                                                         52   Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                  $   6,466.83

                                                                                                    Part VI. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
                                                                                         53    Total current monthly income. Enter the amount from Line 20.                                                  $   6,227.00
                                                                                               Support income. Enter the monthly average of any child support payments, foster care payments, or
                                                                                         54    disability payments for a dependent child, reported in Part I, that you received in accordance with
                                                                                               applicable nonbankruptcy law, to the extent reasonably necessary to be expended for such child.               $      0.00

                                                                                               Qualified retirement deductions.          Enter the monthly total of (a) all amounts withheld by your
                                                                                         55    employer from wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b)
                                                                                               all repayments of loans from retirement plans, as specified in § 362(b)(19).                                  $      0.00

                                                                                         56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                             $   6,466.83
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                                                                                         B22C (Official Form 22C) (Chapter 13) (01/08) - Cont.                                                                                  8




                                                                                               Deduction for special circumstances. If there are special circumstances that justify additional
                                                                                               expenses for which there is no reasonable alternative, describe the special circumstances and the
                                                                                               resulting expenses in lines a-c below. If necessary, list additional entries on a separate page. Total the
                                                                                               expenses and enter the total in Line 57. You must provide your case trustee with documentation
                                                                                               of theses expenses and you must provide a detailed explanation of the special circumstances
                                                                                               that make such expenses necessary and reasonable.

                                                                                          57
                                                                                                                       Nature of special circumstances                                 Amount of expense
                                                                                                a.                                                                                 $
                                                                                                b.                                                                                 $
                                                                                                c.                                                                                 $
                                                                                                                                                                                   Total: Add Lines a, b and c    $
                                                                                                                                                                                                                           0.00

                                                                                         58    Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56 and
                                                                                               57 and enter the result.                                                                                           $    6,466.83
                                                                                               Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter
                                                                                          59                                                                                                                      $     -239.83
                                                                                               the result.

                                                                                                                               Part VI: ADDITIONAL EXPENSE CLAIMS


                                                                                               Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
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                                                                                               health and welfare of you and your family and that you contend should be an additional deduction from your current monthly
                                                                                               income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
                                                                                               average monthly expense for each item. Total the expenses.

                                                                                          60
                                                                                                                              Expense Description                                                  Monthly Amount
                                                                                                 a.                                                                                           $            0.00
                                                                                                 b.                                                                                           $            0.00
                                                                                                 c.                                                                                           $            0.00
                                                                                                                                              Total: Add Lines a, b and c                                  0.00

                                                                                                                                         Part VII: VERIFICATION
                                                                                               I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                               both debtors must sign.)

                                                                                          61          Date:   March 5, 2009                   Signature:         /s/ Mark E. Sheppard
                                                                                                                                                                     (Debtor)


                                                                                                      Date: March 5, 2009                     Signature:
                                                                                                                                                                 /s/ Deborah J. Sheppard
                                                                                                                                                                   (Joint Debtor, if any)
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                                                                                                                             Form 22 Continuation Sheet
                                                                                         Income Month 1                                            Income Month 2

                                                                                         Gross wages, salary, tips...            0.00   4,227.00   Gross wages, salary, tips...             0.00   4,227.00
                                                                                         Income from business...             2,000.00       0.00   Income from business...             2,000.00        0.00
                                                                                         Rents and real property income...       0.00       0.00   Rents and real property income...        0.00       0.00
                                                                                         Interest, dividends...                  0.00       0.00   Interest, dividends...                   0.00       0.00
                                                                                         Pension, retirement...                  0.00       0.00   Pension, retirement...                   0.00       0.00
                                                                                         Contributions to HH Exp...              0.00       0.00   Contributions to HH Exp...               0.00       0.00
                                                                                         Unemployment...                         0.00       0.00   Unemployment...                          0.00       0.00
                                                                                         Other Income...                         0.00       0.00   Other Income...                          0.00       0.00


                                                                                         Income Month 3                                            Income Month 4


                                                                                         Gross wages, salary, tips...            0.00   4,227.00   Gross wages, salary, tips...             0.00   4,227.00
                                                                                         Income from business...             2,000.00       0.00   Income from business...             2,000.00        0.00
                                                                                         Rents and real property income...       0.00       0.00   Rents and real property income...        0.00       0.00
                                                                                         Interest, dividends...                  0.00       0.00   Interest, dividends...                   0.00       0.00
                                                                                         Pension, retirement...                  0.00       0.00   Pension, retirement...                   0.00       0.00
                                                                                         Contributions to HH Exp...              0.00       0.00   Contributions to HH Exp...               0.00       0.00
                                                                                         Unemployment...                         0.00       0.00   Unemployment...                          0.00       0.00
                                                                                         Other Income...                         0.00       0.00   Other Income...                          0.00       0.00


                                                                                         Income Month 5                                            Income Month 6
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                                                                                         Gross wages, salary, tips...            0.00   4,227.00   Gross wages, salary, tips...             0.00   4,227.00
                                                                                         Income from business...             2,000.00       0.00   Income from business...             2,000.00        0.00
                                                                                         Rents and real property income...       0.00       0.00   Rents and real property income...        0.00       0.00
                                                                                         Interest, dividends...                  0.00       0.00   Interest, dividends...                   0.00       0.00
                                                                                         Pension, retirement...                  0.00       0.00   Pension, retirement...                   0.00       0.00
                                                                                         Contributions to HH Exp...              0.00       0.00   Contributions to HH Exp...               0.00       0.00
                                                                                         Unemployment...                         0.00       0.00   Unemployment...                          0.00       0.00
                                                                                         Other Income...                         0.00       0.00   Other Income...                          0.00       0.00



                                                                                                                      Additional Items as Designated, if any




                                                                                                                                          Remarks
